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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8                                                *****
 9   UNITED STATES OF AMERICA,        )
                                      ) 3:08-cr-00006-LRH-RAM
10                        Plaintiff,  )
                                      ) ORDER
11   vs.                              )
                                      )
12   DARIN JEROME FRENCH and JENNIFER )
     LYNN FRENCH,                     )
13                                    )
                          Defendants. )
14                                    )
15          Before the court is defendants’ Motion for Complex Case Designation and Schedule
16   Pursuant to LCR 16-1(a) with Motion to Continue Trial Date Pursuant to Title 18 U.S.C. § 3161
17   (#110). The Government has opposed the defendants’ motion (#111) and the court held a
18   hearing on March 9, 2010. Both defendants appeared personally at the hearing and confirmed
19   that they had fully discussed the pending motion with their respective counsel, that they were
20   fully aware that they were entitled to trial on the currently scheduled date subject to the motion
21   filed by their counsel and both expressed their agreement with the requested continuance.
22          Defendants’ counsel represent that the continuance is necessary in order to allow
23   adequate trial preparation, citing the need to review more than 20,484 pages of discovery and the
24   performance of certain undefined investigation on behalf of the defense. Counsel for DARIN
25   JEROME FRENCH is the fourth counsel appointed to represent Mr. French and his appointment
26   occurred on December 2, 2009. Identifying the extensive document discovery in this case, the
27   seventy-two (72) counts contained within the pending Indictment and the specter of over seventy
28   (70) witnesses during a three-week trial, he represents that he simply cannot be adequately
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 1   prepared to defend his client at the presently scheduled April 6, 2010, trial date. Counsel for
 2   JENNIFER LYNN FRENCH concurs that the defense strategy needs to be a mutual one and
 3   concurs with the reasons cited for continuance on behalf of Defendant DARIN JEROME
 4   FRENCH.
 5           Balancing the factors enumerated at 18 U.S.C. § 3161(h)(8)(B)(i)-(iv), this court finds
 6   that the ends of justice served by granting a continuance outweigh the best interest of the public
 7   and the defendants in a speedy trial. See 18 U.S.C. § 3161(h)(8)(A). The court further finds that
 8   failure to grant the requested continuance would be likely to result in a miscarriage of justice.
 9   Although the case is not terribly “unusual” or “complex” within the meaning of §
10   3161(h)(8)(B(ii), it does involve an extensive factual record composed of voluminous documents
11   and other materials, and additional preparation time is therefore warranted. See U.S. v. Dota, 33
12   F.3d 1179, 1183 (9th Cir. 1994), cert. Denied, 514 U.S. 1052 (1995).
13           Accordingly, defendants’ motion for a continuance is GRANTED. The trial date of
14   April 6, 2010, is vacated and the trial date is continued to July 13, 2010, at 8:30 a.m. Calendar
15   call is reset from March 25, 2010, to July 1, 2010, at 8:30 a.m.
16           Defense counsel are to present a proposed stipulated schedule for pretrial motions and
17   relevant trial disclosures. All briefing on pretrial motions shall be concluded on or before June 7,
18   2010.
19           While granting the motion for continuance, the court denies Defendants’ Motion for
20   Complex Case Designation as the court does not find that it satisfies the criteria for such
21   designation as defined in 18 U.S.C. § 3161(h)(8)(B)(ii). However, the court does approve
22   interim payments to defense counsel who have been appointed to represent their respective
23   clients pursuant to the Criminal Justice Act.
24           DATED this 11th day of March, 2010.
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                                                     LARRY R. HICKS
28                                                   UNITED STATES DISTRICT JUDGE

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